                           Case 23-258, Document 169, 10/06/2023, 3578898, Page1 of 29
                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  23-258(L)
Docket Number(s): ________________________________________                _______________Caption [use short title]_____________________
            Leave to File as Amicus Curiae on Behalf of
Motion for: ______________________________________________
Da Afghanistan Bank and the Afghan People
________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
The NGO Unfreeze Afghanistan, movant, seeks leave
________________________________________________________
                                                                          Havlish v. Bin-Laden
to file an amicus curiae brief on behalf of Da Afghanistan
________________________________________________________
Bank and the Afghan people.
________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________
             Unfreeze Afghanistan, Amicus Curiae OPPOSING PARTY:____________________________________________
MOVING PARTY:_______________________________________            Fiona Havlish

          ___Plaintiff                ___Defendant

          ___Appellant/Petitioner    ___Appellee/Respondent

                Samidh Guha
MOVING ATTORNEY:___________________________________                                 Lee S. Wolosky
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
Guha PLLC
________________________________________________________ Jenner & Block LLP
                                                         _______________________________________________________________
1740 Broadway, 15th Floor, New York, New York 10019 _______________________________________________________________
________________________________________________________ 1155 Avenue of the Americas, New York, New York 10036

(212) 399-8330; sguha@guhapllc.com
________________________________________________________ (212) 891-1628; lwolosky@jenner.com
                                                         _______________________________________________________________
                                    Hon. George B. Daniels, U.S. District Court for the Southern District of New York
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                         FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                        INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):      Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes     ___No (explain):__________________________            Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                  Requested return date and explanation of emergency: ________________
                                                                         _____________________________________________________________
Opposing counsel’s position on motion:
                                                                         _____________________________________________________________
                                        ✔
         ___Unopposed ___Opposed ___Don’t        Know
                                                                         _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                         _____________________________________________________________
                             ✔
         ___Yes ___No ___Don’t          Know


Is oral argument on motion requested?                  ✔ (requests for oral argument will not necessarily be granted)
                                               ___Yes ___No

Has argument date of appeal been set?                   ✔
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:
/s/ Samidh Guha
_________________________________      10/06/2023
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]




Form T-1080
F    T 1080 ((rev.12-13)
                  12 13)
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                   UNITED STATES COURT OF APPEALS
                       FOR THE SECOND CIRCUIT


FIONA HAVLISH et al.,
    Plaintiffs-Appellants,

KATHERINE SOULAS,
    Plaintiff,

JANE DOE,
    Consolidated-Plaintiff,
                                            Docket No. 23-258(L), 23-263
                                            (CON), 23-304 (CON), 23-346
      v.
                                            (CON), 23-444 (CON)
THE ISLAMIC EMIRATE OF
                                            On Appeal from the United States
AFGHANISTAN, et al.,
                                            District Court for the Southern
     Defendants-Appellees,
                                            District of New York
FEDERAL RESERVE BANK OF
NEW YORK,
    Garnishee-Interested-Party,

SHEIKH USAMA BIN-LADEN et
al.,
     Defendants.


           MOTION OF THE NGO UNFREEZE AFGHANISTAN FOR
            LEAVE TO FILE AS AMICUS CURIAE ON BEHALF OF
           DA AFGHANISTAN BANK AND THE AFGHAN PEOPLE

                                            Samidh Guha
                                            GUHA PLLC
                                            Attorneys for Amicus Curiae NGO
                                               Unfreeze Afghanistan
                                            1740 Broadway, 15th Floor
                                            New York, New York 10019
                                            212-399-8330
            Case 23-258, Document 169, 10/06/2023, 3578898, Page3 of 29




       Unfreeze Afghanistan, a non-governmental organization, moves this Court,

through its undersigned counsel, for permission to file an amicus curiae brief. As

grounds, it states:

       1.     Unfreeze Afghanistan was permitted to file a brief as an amicus curiae

in this matter in the district court.

       2.     It has a particular interest in this issue in that its members are women

who have been engaged in matter relating to Afghanistan for more than twenty years.

It formed after the Taliban takeover of Afghanistan to address the plight of the

millions of Afghans facing extreme poverty and hunger in light of the country’s

collapsing economy. It formed in response to an urgent appeal from the Teachers

Association of Afghanistan, sounding the alarm that teachers had not been paid since

June 2021 and were in dire circumstances. Other public sector workers also

desperately need to be paid so they can perform their vital community services and

feed their families. It is not political group and has no political message nor does it

defend, support or otherwise endorse the Taliban government. It is concerned for the

civilian population of Afghanistan.

       3.     A copy of the proposed brief is attached to this motion.




                                          1
          Case 23-258, Document 169, 10/06/2023, 3578898, Page4 of 29




Dated: October 6, 2023                 Respectfully submitted,

                                       /s/ Samidh Guha
                                       Samidh Guha
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                                      2
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  CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 27(d)(2)(A)

      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because this motion contains 197 words, excluding the parts of the

motion exempted by Fed. R. App. P. 27(a)(2)(B).

      This motion also complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

motion has been prepared in a proportionally space typeface using Microsoft Word

in Times New Roman 14-point font.



                                        /s/ Samidh Guha
                                        Samidh Guha

                                        Dated: October 6, 2023




                                       3
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   PROPOSED BRIEF FOR AMICUS CURIAE
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    23-258-CV(L)
23-263-CV (CON), 23-304-CV(CON),
23-346-CV (CON), 23-444-CV (CON)
                                       IN THE


         United States Court of Appeals
                            FOR THE SECOND CIRCUIT

                                       > >>
                                       >>
FIONA HAVLISH, RUSSA STEINER, IN HER OWN RIGHT AND AS EXECUTRIX OF THE ESTATE
OF W ILLIAM S TEINER , DECEASED , C LARA C HIRCHIRILLO , IN HER OWN RIGHT AND AS
EXECUTRIX OF THE ESTATE OF P ETER C HIRCHIRILLO , TARA B ANE , IN HER OWN RIGHT AND
AS EXECUTRIX OF THE ESTATE OF M ICHAEL A. B ANE , G RACE M. PARKINSON -G ODSHALK ,
IN HER OWN RIGHT AND ADMINISTRATIX OF THE E STATE OF W ILLIAM R. G ODSHALK ,
ELLEN L. SARACINI, IN HER OWN RIGHT AND AS EXECUTRIX OF THE ESTATE OF VICTOR J.
SARACINI, DECEASED, THERESAANN LOSTRANGIO, IN HER OWN RIGHT AND AS EXECUTRIX
OF THE ESTATE OF J OSEPH L OSTRANGIO , DECEASED , D EENA B URNETT, IN HER OWN RIGHT
AND AS ADMINISTRATIX OF THE E STATE OF T HOMAS E. B URNETT, J R ., DECEASED ,

              (Caption Continued on the Reverse and Following Page(s))

                   On Appeal from the United States District Court
                       for the Southern District of New York



                 BRIEF FOR AMICUS CURIAE
           NGO UNFREEZE AFGHNISTAN IN SUPPORT
                OF DEFENDANTS-APPELLEES


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THOMAS E. BURNETT, SR., AS THE PARENT AND ON BEHALF OF THE FAMILY OF THOMAS
E. BURNETT, JR., JUDITH REISS, IN HER OWN RIGHT AND AS ADMINISTRATIX OF THE
ESTATE OF J OSHUA S COTT R EISS , DECEASED , W ILLIAM C OALE , IN HIS OWN RIGHT AND AS
ADMINISTRATIX OF THE ESTATE OF J EFFREY A LAN C OALE , DECEASED , PATRICIA J. P ERRY,
IN HER OWN RIGHT AND AS ADMINISTRATIX OF THE ESTATE OF J OHN W ILLIAM P ERRY,
DECEASED , B ARBARA A. M INERVINO , IN HER OWN RIGHT AND AS ADMINISTRATIX OF THE
ESTATE OF LOUIS J. MINERVINO, DECEASED, MATTHEW T. SELLITTO, IN HIS OWN RIGHT
AND AS ADMINISTRATIX OF THE ESTATE OF L OUIS J. M INERVINO , DECEASED , R ALPH
MAERZ, JR., AS PARENT AND ON BEHALF OF THE FAMILY OF NOELL MAERZ, DECEASED,
LINDA PANIK, AS PARENT AND ON BEHALF OF THE FAMILY OF LT. JONAS MARTIN PANIK,
DECEASED , M ARTIN PANIK , AS PARENT OF AND ON BEHALF OF THE FAMILY OF LT. J ONAS
MARTIN PANIK, DECEASED, MARTINA LYNE-ANN PANIK, AS THE SISTER OF LT. JONAS
MARTIN PANIK, STEPHEN L. CARTLEDGE, AS HUSBAND OF SANDRA WRIGHT CARTLEDGE,
DECEASED , L OISANNE D IEHL , IN HER OWN RIGHT AND AS EXECUTRIX OF THE ESTATE OF
MICHAEL DIEHL, DECEASED, TINA GRAZIOSO, IN HER OWN RIGHT AND AS EXECUTRIX OF
THE ESTATE OF J OHN G RAZIOSO , DECEASED , J IN L IU , IN HER OWN RIGHT AND AS
EXECUTRIX OF THE ESTATE OF L IMING G U , DECEASED , A LL P LAINTIFFS , ON BEHALF OF
THEMSELVES AND ALL OTHERS SIMILARLY SITUATED , M ICHAEL E DWARD PAIGE , S PECIAL
ADMINISTRATOR OF THE ESTATE OF TIMOTHY RAYMOND WARD, DECEASED, BRIANNA L.
GOMES, ADMINISTRATOR OF THE ESTATE OF DOYLE RAYMOND WARD, DECEASED, JOHN
DOES 1 THROUGH 7, RAYMOND ANTHONY SMITH, AS ADMINISTRATOR OF THE ESTATE OF
GEORGE ERIC SMITH, DECEASED, FEDERAL INSURANCE COMPANY, PACIFIC INDEMNITY
COMPANY, CHUBB CUSTOM INSURANCE COMPANY, CHUBB INDEMNITY INSURANCE
COMPANY, CHUBB INSURANCE COMPANY OF CANADA, CHUBB INSURANCE COMPANY OF
NEW JERSEY, GREAT NORTHERN INSURANCE COMPANY, VIGILANT INSURANCE COMPANY,
TIG INSURANCE COMPANY, KATHLEEN ASHTON, AS ADMINISTRATOR OF THE ESTATE OF
THOMAS ASHTON, DECEASED AND ON BEHALF OF ALL SURVIVORS OF THOMAS ASHTON,
JOSEPHINE ALGER, AS ADMINISTRATOR OF THE ESTATE OF FREDERICK ALGER, AS
COEXECUTORS OF THE ESTATE OF DAVID D. ALGER, DECEASED AND ON BEHALF OF THE
SURVIVORS OF D AVID D. A LGER , A NGELICA A LLEN , AS A DMINISTRATOR OF THE E STATE
OF E RIC A LLEN , DECEASED AND ON BEHALF OF ALL SURVIVORS OF E RIC A LLEN , G EORGE
ANDRUCKI, AS COADMINISTRATOR OF THE ESTATE OF JEAN ANDRUCKI, DECEASED AND
ON BEHALF OF ALL SURVIVORS OF J EAN A NDRUCKI , M ARY A NDRUCKI , AS C O A DMINIS -
TRATOR OF THE E STATE OF J EAN A NDRUCKI , DECEASED AND ON BEHALF OF ALL SUR -
VIVORS OF J EAN A NDRUCKI ,

                                                                 Plaintiffs-Appellants,

KATHERINE SOULAS, IN HER OWN RIGHT, AS REPRESENTATIVE OF THE HEIRS, ON BEHALF
OF HER MINOR CHILDREN , AND AS E XECUTRIX OF THE E STATE OF T IMOTHY S OULAS ,
DECEASED, ON BEHALF OF THE SOLATIUM CLAIMANTS, INCLUDING KATHERINE SOULAS,
FREDERICK SOULAS, II, TIMOTHY SOULAS, JR.,
                                                                             Plaintiff,
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     JANE DOE, IN HER OWN RIGHT, ON BEHALF OF HER MINOR CHILDREN, AND AS
     EXECUTRIX OF THE ESTATE OF TOM SAWYER, A FICTITIOUS NAME, DECEASED,
                                                               Consolidated-Plaintiff,
                                         v.

             THE ISLAMIC EMIRATE OF AFGHANISTAN, THE TALIBAN,
      AL QAIDA/ISLAMIC ARMY, SHEIKH USAMAH BIN-MUHAMMAD BIN-LADEN,
                  AKA OSAMA BIN-LADEN, REPUBLIC OF IRAQ,
                                                               Defendants-Appellees,
                      FEDERAL RESERVE BANK OF NEW YORK,
                                                          Garnishee-Interested-Party,

SHEIKH USAMA BIN-LADEN, MUHAMMAD OMAR, AL QAEDA/ISLAMIC ARMY, ISLAMIC
REPUBLIC OF IRAN, AYATOLLAH ALI HOSEINI-KHAMENEI, SUPREME LEADER, IRANIAN
MINISTRY OF INFORMATION AND SECURITY, THE ISLAMIC REVOLUTIONARY GUARD
CORPS, HEZBOLLAH, AN UNINCORPORATED ASSOCIATION, IRANIAN MINISTRY OF PETRO-
LEUM , I RANIAN M INISTRY OF E CONOMIC A FFAIRS AND F INANCE , I RANIAN M INISTRY OF
COMMERCE, IRANIAN MINISTRY OF DEFENSE AND ARMED FORCES LOGISTICS, SADDAM
HUSSEIN, PRESIDENT, IRAQI MINISTRY OF DEFENSE, IRAQI MINISTRY OF FINANCE, IRAQI
MINISTRY OF OIL, IRAQI INTELLIGENCE SERVICE, QUSAY HUSSEIN, UNIDENTIFIED
TERRORIST DEFENDANTS 1-500, ALI AKBAR HASHEMI RAFSANJANI, THE NATIONAL
IRANIAN TANKER CORPORATION, PREVIOUSLY IDENTIFIED AS UNIDENTIFIED TERRORIST 2,
THE NATIONAL IRANIAN OIL CORPORATION, PREVIOUSLY IDENTIFIED AS UNIDENTIFIED
TERRORIST 3, THE NATIONAL IRANIAN GAS COMPANY, PREVIOUSLY IDENTIFIED AS
UNIDENTIFIED T ERRORIST 4, I RAN A IRLINES , P REVIOUSLY I DENTIFIED AS UNIDENTIFIED
TERRORIST 5, THE NATIONAL IRANIAN PETROCHEMICAL COMPANY, THE CENTRAL BANK
OF THE I SLAMIC R EPUBLIC OF I RAN , U NIDENTIFIED T ERRORIST D EFENDANTS 8-500,
AL-QAEDA, THE HAQQANI NETWORK, AL QAIDA, EGYPTIAN ISLAMIC JIHAD, OSAMA BIN
LADEN, ESTATE OF MUHAMMAD ATEF, AYMAN AL ZAWAHARI, ABU ZUBAYDH,
                                                                          Defendants.
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            INTRODUCTION AND STATEMENT OF INTEREST

      Unfreeze Afghanistan, a non-governmental organization, files this amicus

brief in the cases of Havlish v. Bin Laden; John Does 1-7 v. The Taliban; and related

cases.1 We submit this brief to urge the Court of Appeals for the Second Circuit to

uphold the decision of the District Court for the Southern District of New York,

which preserved the assets of Da Afghanistan Bank, which is Afghanistan’s central

bank (“DAB” or the “Central Bank”), for the benefit and welfare of the people of

Afghanistan. We further request that those assets be made available to the people of

Afghanistan, for their benefit, as soon as practically possible.

      As stated in our motion for leave to file this brief, Unfreeze Afghanistan has

a particular interest in this issue in that its members are women who have been

engaged in matters relating to Afghanistan for more than twenty years. It formed

after the Taliban takeover of Afghanistan to address the plight of the millions of

Afghans facing extreme poverty and hunger due to the country’s collapsing

economy. We formed in response to an urgent appeal from the Teachers Association

of Afghanistan, sounding the alarm that teachers had not been paid since June 2021

and were in dire circumstances.


1
  In compliance with Rule 29(a)(4)(E), Fed. R. App. P., amicus certifies that no
party’s counsel authored the brief in whole or in part, no party or a party’s counsel
contributed money that was intended to fund preparing or submitting the brief and
no one other than the amicus curiae, its members, or its counsel contributed money
that was intended to fund preparing or submitting the brief.
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        We are not a political group and we do not have a political message. Our

efforts are not in any way aimed at defending, supporting or otherwise endorsing the

Taliban or the current government. For us, Afghanistan is its people and our concern

is for the civilian population. After four decades of war and upheaval, they deserve

a chance to rebuild their lives, to operate their small farms and businesses, find

employment, and receive basic municipal services. None of this is possible without

funds, and the country’s funds are not merely frozen; currently, this appeal raises the

possibility that the funds are given away permanently. We believe this would

represent a grave injustice against the Afghan people.

        We want to make clear that in filing this brief, we do not intend to minimize,

in any way, the suffering and loss inflicted upon the families of the victims of the

coordinated terrorist attacks that occurred on September 11, 2001, in New York City,

Arlington, Virginia, and Shanksville, Pennsylvania. This terrible and immoral

atrocity, which violated United States law, international law, and Islamic law,

shocked the consciences of all reasonable people. We hope the families of the 9/11

victims, and the Court, understand that our expression of support for the rights of the

Afghan people, in accordance with what we believe to be both U.S. and international

law, in no way reflects any lack of respect for and appreciation of their suffering and

loss.




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      We previously filed an amicus brief in these proceedings with the District

Court, which was accepted. We have now read the arguments made by the lawyers

for the plaintiffs, in their appeal to this Court. Besides reiterating the comments from

our previous brief, we also wish to underscore for this Court what we believe are

several factual errors underlying the case made by the appellants.

                                    ARGUMENT

I.    The Central Bank is not an agency or instrumentality of the Taliban.

      DAB is a separate juridical person, established under The Afghanistan Bank

Law to be the central bank of Afghanistan.2 The Afghanistan Bank Law provides

that the primary objective of DAB is to achieve and to maintain domestic price

stability. Its other objectives are to foster the liquidity, solvency and effective

functioning of a stable market-based financial system, and to promote a safe, sound

and efficient national payment system. Clause 3.3 of the Afghanistan Bank Law

provides that the Central Bank should operate with autonomy:

             Da Afghanistan Bank shall, in accordance with this law,
             be entirely independent in the pursuit of its objectives and
             no person shall seek to exercise improper influence on
             members of the decision-making bodies of Da
             Afghanistan Bank in the performance of their tasks or
             interfere in any other way in the activities of Da
             Afghanistan Bank.



2
  See The Afghanistan Bank Law, https://dab.gov.af/sites/default/files/2018-
12/DABLaw1English_2.pdf.

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      To date, as best we are able to ascertain. the Taliban have made no attempt to

overturn or negate the banking law. Had they done so, it would almost certainly have

been publicly and widely reported. It is true that they have appointed current DAB

officials, though arguably they had little choice, since the previous officials left the

country when their government collapsed.

      At present, the Central Bank is performing some of its designated functions

but only to a limited extent. Because the freezing of its assets, combined with U.S.

and UN sanctions, there has been a severe breakdown of the Afghan economy and a

humanitarian crisis in the country.

      We recognize the concerns inherent in releasing funds directly to DAB at this

time, but contend that they must be weighed against the harm befalling ordinary

Afghan citizens because of the bank’s lack of funds to fully carry out its mission.

There are means and methods available to maintain oversight over the use of any

unfrozen funds, and they can be disbursed in small amounts with the disbursement

ceased the moment any misuse is registered. Where this balance should be struck,

and its modalities, is a difficult and nuanced question beyond the scope of this brief.

What we do maintain is that the funds at issue rightfully belong to, and must be

enjoyed by, the Afghan people as soon as reasonably possible.




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II.   The Taliban are not the recognized government of Afghanistan.3

      The Taliban are a movement characterized by a particular and, to be generous,

somewhat eccentric view of Islam and composed mostly of ethnic Pashtuns. During

the previous Western-backed Afghan governments, they led an insurgency. After the

U.S. withdrawal and the rapid collapse of the Afghan government, they took power

under the name Islamic Emirate of Afghanistan. No other state has recognized them

to date.

      International organizations, the U.S. government and other governments have

engaged in talks with them, both to coordinate logistics for humanitarian aid and to

attempt to persuade them to change their harsh social policies. The country's

administration is located in Kabul, but much of its policy is made by a reclusive

group of hardliners including Haibatullah Akhunzada, the nominal head of state,

who is based in Kandahar. Some of their policies have been constructive, for

example, the banning of the drug trade. Others, including the banning of female

education above Grade 6, are unacceptable, if not reprehensible and detrimental to

the Afghan people. There is, however, no realistic challenger to their regime on the

horizon. Unfreeze Afghanistan therefore maintains its focus on the country’s civilian


3
  The word “taliban” is Pashto for “students,” and refers to the men studying Islam
in Afghan and Pakistani madrasas, or religious schools. These students were
organized into fighting units, and armed by the United States and Pakistan during
the 1980s to fight to free Afghanistan from Soviet domination following the Soviet
Union’s invasion in 1979.

                                         5
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population, seeking to avoid its being cut off from international banking and

contacts, and facilitating the establishment of livelihoods to allow the people to go

forward with their lives as best they can.

      To be sure, while the DAB, like any central bank, is not an agency, and is

independent of the government, it is not immune from government pressure and

influence. The same is, of course, true of the Federal Reserve board of governors in

the U.S., an independent body but one whose members are nominated by the

president and confirmed by the Senate.4

      For this Court’s purposes, the decision to be made is not whether the Taliban

regime, a/k/a Islamic Emirate, is a desirable or even an acceptable government. That

question has been resoundingly answered by the international community. The

question, rather, is whether the monies in dispute should be returned to or held for

their lawful owners, the people and country of Afghanistan. There should be no

doubt that they should, whether by paying it directly and immediately to DAB or, if

it is deemed problematic at this time, by securing the funds until such time as the

situation in Afghanistan assures that the Bank can administer the funds properly for

the benefit of the population.




4
  Afghanistan’s central bank law is based upon the law establishing and regulating
the Federal Reserve.

                                             6
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      How and when release of the funds to the people of Afghanistan should be

made is likely a political question not subject to this Court’s jurisdiction. More than

a century ago, the Supreme Court affirmed in Oetjen v. Central Leather Co., 246

U.S. 297, 298, 38 S. Ct. 309, 62 L. Ed. 726 (1918) that “(t)he conduct of the foreign

relations of our government is committed by the Constitution to the executive and

legislative ‘the political’—departments of the government, and the propriety of what

may be done in the exercise of this political power is not subject to judicial inquiry

or decision.” Baker v. Carr, 369 U.S. 186, 82 S. Ct. 7 L. Ed. 2d 663 (1962) slightly

limited Oetjen, holding that a determination of whether or not something is beyond

court review should be decided on a case-by-case basis. That being said, it is difficult

to separate access to the disputed funds from U.S. foreign policy, which is delegated

almost exclusively to the executive branch and, certainly, only to the political

branches. The fact that the government chose to participate in this matter in

opposition to the plaintiffs’ complaint underscores the importance of this matter to

U.S. foreign policy and, therefore, strengthens the conclusion that the judiciary

should not intervene.




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III.   The U.S. has not designated the de facto government of Afghanistan as a
       terrorist party, or as a state sponsor of terrorism.

       The current governmental regime in Kabul is not included on the list of

entities or groups designated as foreign terrorist organizations.5 It is also not

designated as a state sponsor of terrorism under the Export Administration Act.6

While the regime has engaged in a range of abusive policies, violating the rights of

women and minorities, it has not, so far as can be determined, engaged in terrorist

activities.7 In the Doha Agreement, the Taliban committed to refrain from

supporting, and to assist in preventing, attacks on the U.S. and its allies that might

emanate from their country.8




5
    See Foreign Terrorist Organizations, U.S. Department of State,
https://www.state.gov/foreign-terrorist-organizations/.
6
    See State Sponsors of Terrorism, U.S. Department of State,
https://www.state.gov/state-sponsors-of-terrorism/.
7
  The U.S. Secretary of State has also not designated the Taliban as a foreign terrorist
organization in accordance with the Immigration and Nationalization Act. See
https://www.state.gov/foreign-terrorist-organizations/. While it has designated
Tehrik-e Taliban Pakistan (TTP) under that Act, that is a different organization based
in Pakistan. As the U.S. has not designated either the de facto government of
Afghanistan or the Taliban a foreign terrorist organization or designated the Afghan
government a state sponsor of terrorism under the Export Administration Act, and
as neither is a “terrorist” and these are the three categories included in the definition
of “terrorist party” in TRIA, it is not clear to us how Section 201 of TRIA can be
said to apply.
8
  See Agreement for Bringing Peace to Afghanistan, U.S. Department of State (Feb.
29, 2020), https://www.state.gov/wp-content/uploads/2020/02/Agreement-For-
Bringing-Peace-to-Afghanistan-02.29.20.pdf.

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      In 2023, in response to cross-border issues with Pakistan, Haibatullah issued

a religious prohibition against attacks on neighboring states.9 To be clear, we are not

saying that this is in any way a laudable government, merely that on some important

issues, it has thus far been behaving in a relatively responsible fashion.

      The current regime’s violations of human rights law and principles, including

its systematic discrimination against and disenfranchisement of a majority of the

citizens of the country, is diametrically opposed to everything our organization and

its members stand for, and have worked on behalf of, for decades. But we agree with

and follow the decision of the U.S. government which, while not recognizing the

current regime in Kabul, has through the Secretary of State recognized it as the “de

facto government of Afghanistan.”

      We hope the day will come when the people of Afghanistan can enjoy good

governance by leaders who have political legitimacy by way of fair elections or some

similar process beyond the primitive power of guns, and who respect the human

rights of their citizens, including women and girls. But in the meantime, we view it

as critical to enable the population, and the remnants of civil society, to achieve some

measure of normality and basic needs and to not have their property and their

resources withheld or worse, given away.



9
 See Haibatullah Akhunzada Labels Attacks on Pakistan as “Haram”, Samaa
English TV (Aug. 7, 2023), https://www.samaaenglish.tv/news/40044781.

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IV.   DAB cannot accurately be characterized as the Taliban’s or the de facto
      regime’s agency or instrumentality.

      We understand from the plaintiffs’ arguments that, for the DAB to be deemed

an agency or instrumentality of the Taliban, it would have to be “a means through

which a material function of the [Taliban] is accomplished,” or to have “provided

material services to, on behalf of, or in support of the [Taliban],” or to be “owned,

controlled or directed” by the Taliban. Fortunately, none of these pertain.

      The Central Bank was not, at least for the approximately 20 years prior to the

fall of Kabul in August 2021, a means through which any function of the Taliban

was accomplished, nor has it been an entity that provided material services to or on

behalf or in support of the Taliban. Since that date, the Central Bank has been, and

at present it remains, minimally functional, carrying out only the most skeletal

aspects of its mandate. Nearly all its assets have been frozen, not just in the United

States but in many other countries in which it has deposits. As a result, DAB is only

able to perform small scale currency exchange functions and banking supervision. It

needs access to the frozen reserves to stabilize the currency.

      This is an essential function, especially during an ongoing humanitarian

disaster which coincides with worldwide food price inflation in the wake of the

Ukraine war. Thus far it has been kept somewhat at bay with humanitarian aid

injections, but such aid. however is not guaranteed and a status of permanent




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dependency on charitable donations is not desirable, especially not for what

otherwise could be a productive agricultural country.

      Plaintiffs have argued that the Taliban have used DAB to generate “hundreds

of millions of dollars in revenue,” but they support their claim by alleging access to

“sensitive financial intelligence information, nonpublic supervisory information and

other economic data.” This is not evidence, but speculation. The claim is both

mysterious and implausible; what classified information could they have, and why

would they have obtained access to it? Certainly, the U.S. government, in its

opposition to plaintiffs’ claims, has not acknowledged the existence of any such

documents.

      The de facto government has not misappropriated or otherwise stolen any

DAB assets. For instance, DAB has in its vaults a gold reserve. There was nothing

to prevent the Taliban from storming the vaults and seizing the gold, but they have

made no attempt to do so.

      To state facts is not the same as praising, though in an emotionally charged

environment, the two can easily be conflated. We are the last group that would ever

be inclined to praise the Taliban, yet the fact is that they have opposed corruption

and extortion as reported by the World Bank10 and have, according to reports of



10
  See Afghanistan Development Update: Towards Economic Stabilization and
Recovery, The International Bank for Reconstruction and Development / The World

                                         11
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Afghan and Afghan-American business owners and operators, not only permitted

but encouraged private enterprise and trade. They have not seized private property

or nationalized assets. They have not touched the inestimably precious Bactrian Gold

collection, which was within their grasp when they took over the Palace where it

was being kept. There is no reason to suppose that they intend to steal from the

Central Bank.

      They have also focused on establishing security. According to the

International Crisis Group, which cannot in any way be numbered among the

apologists or supporters of the Taliban or their current regime:

             As the former insurgents took power, the world’s attention
             focused at first on the disastrous humanitarian and
             economic fallout. Few outside observers took note of the
             dramatic shifts in the security situation, including a
             slowdown in the pace of violence to a level that most
             Afghans had not witnessed in their lifetimes. Afghans
             certainly noticed the change. They had grown accustomed
             to a drumbeat of death and destruction: an estimated
             20,000 to 40,000 battle fatalities per year, a toll that for
             several years had surpassed those of Syria, Yemen and
             Iraq, and more U.S. airstrikes than in any other part of the
             world. All of a sudden, after the Taliban seized power, the
             emergency wards were not full of Afghans suffering
             shrapnel cuts and blast injuries. In the early months of
             2022, by UN estimates, fighting diminished to only 18
             percent of previous levels. Another comparison, of the
             first ten months of Taliban government against the same
             period a year earlier, found that the rate of battles,


Bank (Apr. 2022) https://thedocs.worldbank.org/en/doc/5f01165822f3639224e0d4
83ba1861fc-0310062022/original/ADU-2022-FINAL-CLEARED.pdf.

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              explosions and other forms of violence per week had fallen
              fivefold.11

      This is known as the “peace dividend” - the benefit that accrues to a country

when war and violence end or abate, and normal life can appear possible. It would

be tragic if, after our country and our military invested 20 years in the betterment of

Afghans, we were now instrumental in obstructing that peace dividend by

withholding or even permanently disposing of their resources, which they need for

rebuilding.

      There are no indications that the Taliban de facto government is pursuing a

robber baron approach to the economy. As the U.S. Institute of Peace, another critic

of the Taliban, notes:

              [T]he Taliban have taken some positive steps toward
              financial stability by publishing a fiscally responsible
              three-month budget and raising considerable amounts of
              domestic revenue — especially through customs duties,
              which have risen with a crackdown on corruption.12

      It seems unlikely that they would attempt to steal or divert the funds of the

DAB Central Bank. In any event, the solution to this perceived danger is to sequester

the funds until such time as they can be safely turned over to the DAB, or to disburse


11
   See Afghanistan’s Security Challenges Under the Taliban, International Crisis
Group (Aug. 12, 2022) https://www.crisisgroup.org/asia/south-asia/afghanistan/
afghanistans-security-challenges-under-taliban.
12
   See Taliban Are Collecting Revenue—But How Are They Spending It? United
States Institute of Peace (Feb. 2, 2022) https://www.usip.org/publications/
2022/02/taliban-are-collecting-revenue-how-are-they-spending-it.

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them in small, traceable amounts. It is emphatically not to deprive the Afghan people

of what is rightfully theirs. We reject the claim that the plaintiffs should be able to

seize the Central Bank’s assets to satisfy a default judgment against the Taliban

organization.

      The people of Afghanistan are the proper owners of the assets of the Central

Bank. Indeed, these assets include the small savings of ordinary people, who because

we do not like the group that has seized power, are now unable to retrieve their

money. If DAB were able to function as a true central bank, the impact for the

population would be significant. People could access their savings, the currency

could be stabilized, the functioning of the banking system could be properly

overseen, small loans could be made, transactions conducted. There are mechanisms

to maintain transparency over the path of these funds, to ensure that they do not fall

into unintended hands. Elevating the Afghan economy would help the situation of

women and girls, and minorities - of everyone - in the near term. And, in our firm

view, returning their own money to them is not only just, it is also preferable to

continuing their dependency on humanitarian aid handouts. To summarize: we wish

to underscore the lower Court’s fair and correct determination, and to repeat that this

money belongs to the Afghan people and that in the absence of a legitimate

recognized government, DAB is the suitable vehicle and instrument for the return of

those monies.


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                                   CONCLUSION

      There are only two appropriate alternatives to resolving this matter. The first

is to affirm the district court’s ruling and sequester the disputed funds until such time

as they can be safely returned to the DAB for it to fully carry out its function. The

second is to turn the funds over to the DAB immediately, whether in their entirety

or piecemeal. Amicus understands that which of these alternatives should be chosen

is a complex question on which this brief does not presume to answer. Indeed, it is

likely a question beyond the scope and jurisdiction of this Court. It is, however, clear

that the alternative the plaintiffs seek – to take the money from the Afghan people –

is one that this Court cannot condone. No matter how much sympathy one may have

for the suffering the plaintiffs have endured and have had to live with for more than

two decades, that cannot override the rights of the Afghan people, who have

struggled and suffered through many decades of war and strife and who, at the least,

deserve to keep what is theirs. We respectfully submit that the District Court’s

judgment was correct and should be affirmed.




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Dated: October 6, 2023                Respectfully submitted,

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      CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 32(a)

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 3,622 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(a)(7)(B).

      This brief also complies with the typeface requirements of Fed. R. App. P.

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Times New Roman 14-point font.



                                           /s/ Samidh Guha
                                           Samidh Guha

                                           Dated: October 6, 2023




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